Case 2:18-cv-12914-GCS-MKM ECF No. 5 filed 09/20/18      PageID.18   Page 1 of 6



                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


BISHOP R. PERRY,

                   Plaintiff,

                                             CASE NO. 2:18-CV-12914
v.                                           HON. GEORGE CARAM STEEH

SEAN HART, et al.,

                   Defendants.
                                   /

      OPINION AND ORDER DISMISSING IN PART THE COMPLAINT
     AND DIRECTING SERVICE UPON THE REMAINING DEFENDANTS

                                I. INTRODUCTION

       This is a pro se civil rights case brought pursuant to 42 U.S.C. §

1983. Michigan prisoner Bishop R. Perry (“plaintiff”), currently confined at

the Muskegon Correctional Facility in Muskegon, Michigan, asserts that he

was subject to retaliation while confined at the Thumb Correctional Facility

in Lapeer, Michigan in 2017. The plaintiff names three employees at the

Thumb facility – Administrative Assistant Sean Hart, General Office

Assistant T. Bates, and Assistant Resident Unit Manager B. Rousseau – as

the defendants in this action. The plaintiff seeks monetary damages,

injunctive relief, and any other appropriate relief. The Court has granted

the plaintiff leave to proceed without prepayment of the filing fee for this

                                       -1-
Case 2:18-cv-12914-GCS-MKM ECF No. 5 filed 09/20/18      PageID.19   Page 2 of 6



action. See 28 U.S.C. § 1915(a)(1).

                          II. LEGAL STANDARDS

      Under the Prison Litigation Reform Act of 1996 (“PLRA”), the Court is

required to sua sponte dismiss an in forma pauperis complaint before

service on a defendant if it determines that the action is frivolous or

malicious, fails to state a claim upon which relief can be granted, or seeks

monetary relief against a defendant who is immune from such relief. See

42 U.S.C. § 1997e(c); 28 U.S.C. § 1915(e)(2)(B). The Court is similarly

required to dismiss a complaint seeking redress against government

entities, officers, and employees which it finds to be frivolous or malicious,

fails to state a claim upon which relief may be granted, or seeks monetary

relief from a defendant who is immune from such relief. See 28 U.S.C. §

1915A. A complaint is frivolous if it lacks an arguable basis in law or in

fact. Denton v. Hernandez, 504 U.S. 25, 31 (1992); Neitzke v. Williams,

490 U.S. 319, 325 (1989).

      A pro se civil rights complaint is to be construed liberally. Haines v.

Kerner, 404 U.S. 519, 520-21 (1972). Nonetheless, Federal Rule of Civil

Procedure 8(a) requires that a complaint set forth “a short and plain

statement of the claim showing that the pleader is entitled to relief,” as well

as “a demand for the relief sought.” Fed. R. Civ. P. 8(a)(2), (3). The

purpose of this rule is to “give the defendant fair notice of what the claim is

                                      -2-
Case 2:18-cv-12914-GCS-MKM ECF No. 5 filed 09/20/18     PageID.20   Page 3 of 6



and the grounds upon which it rests.” Bell Atlantic Corp. v. Twombly, 550

U.S. 544, 555 (2007) (citation omitted). While this notice pleading

standard does not require “detailed” factual allegations, it does require

more than the bare assertion of legal principles or conclusions. Twombly,

550 U.S. at 555. Rule 8 “demands more than an unadorned, the

defendant-unlawfully-harmed me accusation.” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009). “A pleading that offers ‘labels and conclusions’ or ‘a

formulaic recitation of the elements of a cause of action will not do.’” Id.

(quoting Twombly, 550 U.S. at 555). “Nor does a complaint suffice if it

tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement.’” Id.

(quoting Twombly, 550 U.S. at 557).

      To state a civil rights claim under 42 U.S.C. § 1983, a plaintiff must

allege that: (1) he or she was deprived of a right, privilege, or immunity

secured by the federal Constitution or laws of the United States; and (2) the

deprivation was caused by a person acting under color of state law. Flagg

Bros. v. Brooks, 436 U.S. 149, 155-57 (1978); Harris v. Circleville, 583 F.3d

356, 364 (6th Cir. 2009).

                             III. DISCUSSION

      The plaintiff’s claims against defendant Sean Hart must be dismissed

for failure to state claims upon which relief may be granted. The plaintiff

asserts that defendant Hart retaliated against him and conspired with the

                                     -3-
Case 2:18-cv-12914-GCS-MKM ECF No. 5 filed 09/20/18     PageID.21   Page 4 of 6



other defendants to deprive him of his constitutional rights. To state a

retaliation claim, a plaintiff must allege: (1) that he engaged in protected

conduct, (2) that an adverse action was taken against him that would "deter

a person of ordinary firmness from continuing to engage in that conduct,"

and (3) that the adverse action was motivated by the protected conduct.

Thaddeus-X v. Blatter, 175 F.3d 378, 395 (6th Cir. 1999) (en banc). The

plaintiff bears the burden of proof on all three elements. Mt. Healthy City

Sch. Dist. Bd. of Educ. v. Doyle, 429 U.S. 274, 287 (1977); Smith v.

Campbell, 250 F.3d 1032, 1038 (6th Cir. 2001). The plaintiff does not

meet these standards with respect to defendant Hart. In his complaint, the

plaintiff merely states that defendant Hart approved a prisoner form for

witnesses in a civil case against the Michigan Department of Corrections

on January 5, 2017. Compl., p. 1. He then asserts that he was

transferred to another unit the next day for retaliatory purposes, but does

not assert that defendant Hart was responsible for that transfer. Id. at p. 2.

The plaintiff does not allege any facts showing that defendant Hart

engaged in adverse action against him. The plaintiff thus fails to state a

retaliation claim against defendant Hart in his complaint.

      The plaintiff also alleges that defendant Hart engaged in a conspiracy

with the other defendants to prevent him from entering the courts. Id. To

state a conspiracy claim under § 1983, a plaintiff must show: (1) a single

                                     -4-
Case 2:18-cv-12914-GCS-MKM ECF No. 5 filed 09/20/18       PageID.22    Page 5 of 6



plan, (2) that the alleged co-conspirator shared in the general conspiratorial

objective, and (3) that an overt act was committed in furtherance of the

conspiracy that deprived the plaintiff of his civil rights. Hooks v. Hooks,

771 F.2d 935, 943-44 (6th Cir. 1985); see also Memphis, TN Area Local v.

City of Memphis, 361 F.3d 898, 905 (6th Cir. 2004). A plaintiff must plead

the conspiracy with some specificity. The plaintiff alleges no such facts as

to defendant Hart. His conspiracy claim against defendant Hart is

conclusory and vague. Conclusory allegations are insufficient to state a

claim under § 1983, Iqbal, 556 U.S. at 678; Twombly, 550 U.S. at 555-57;

Crawford-El v. Britton, 523 U.S. 574, 588 (1998); Moldowan v. City of

Warren, 578 F.3d 351, 390-91 (6th Cir. 2009), including a conspiracy claim,

Horton v. Martin, 137 F. App'x 773 (6th Cir. 2005); Gutierrez v. Lynch, 826

F.2d 1534, 1538 (6th Cir. 1987). The plaintiff fails to state a conspiracy

claim against defendant Hart in his complaint. His claims against

defendant Hart must therefore be dismissed.

      Construing the complaint liberally, however, the Court finds that the

plaintiff alleges sufficient facts to state constitutional claims against

defendants Bates and Rousseau. While the plaintiff may or may not

ultimately prevail, he pleads sufficient facts to state potential claims for

relief against those defendants. Service of the complaint upon defendants

Bates and Rousseau is therefore appropriate.

                                       -5-
Case 2:18-cv-12914-GCS-MKM ECF No. 5 filed 09/20/18                PageID.23   Page 6 of 6



                               IV. CONCLUSION

     For the reasons stated, the Court concludes that the plaintiff fails to

state claims upon which relief may be granted under 42 U.S.C. § 1983

against defendant Hart in his complaint. Accordingly, the Court

DISMISSES in part the complaint as to the claims against defendant Hart.

     The Court further concludes that the claims against defendants Bates

and Rousseau are not subject to summary dismissal. Accordingly, the

Court DIRECTS that a copy of the complaint and a copy of this order be

served upon those two defendants by the United States Marshal without

prepayment of costs.

     Lastly, the Court concludes that an appeal from this order cannot be

taken in good faith. See 28 U.S.C. § 1915(a)(3); Coppedge v. United

States, 369 U.S. 438, 445 (1962).

     IT IS SO ORDERED.

Dated: September 20, 2018
                                         s/George Caram Steeh
                                         GEORGE CARAM STEEH
                                         UNITED STATES DISTRICT JUDGE

                              CERTIFICATE OF SERVICE

               Copies of this Order were served upon attorneys of record on
                September 20, 2018, by electronic and/or ordinary mail and
                  also on Bishop Perry #231579, Muskegon Correctional
                     Facility, 2400 S. Sheridan, Muskegon, MI 49442.

                                    s/Barbara Radke
                                      Deputy Clerk



                                          -6-
